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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3034
           v.                        )
                                     )
ALEJANDRO ROQUE RAMIREZ,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion for severance, filing 18, is denied
as unnecessary.

     2. Trial remains set for June 6, 2005 at 9:00 a.m. before
The Honorable Richard G. Kopf in Courtroom 1, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska.

     DATED this 1st day of June, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
